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EXHIBIT A

` of 21
Case 1'16-cv-10400-FDS Document 1-1 Fl|ed 02/25/16 PageZ

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_..M__ “__H__-w_¢__~_%_“_ g
_%% COUNTY ESSEX

~._._H_.__..._

Shana Graziano Personal

PLA|NT|FF{S)Representative of the Estate of DEFENDANT(S)City of _Peahody
Soney Matthews

Type Plaintiff's Attorney name, Address, CitylStaie/le Type Defendant's Attemey Name, Address, City/State!Zip
Phone Number and BBO# Phone Number {h' Known)

,_.M …_.___,_--__»__m___q___
man L. earner eeo #: 972350 _ '
Swartz & Swariz, P.C.

10 Marsha£i St'reet

Boswn, MA 02108 l

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L-_»--__-.._,..,____
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The foilowing is a full, itemized and detailed statement of the facts on which plaintiff relies to determine
money damages For this form-,_ disregard.double er treble damage claim's; indicate single damages only.

T!!RT CLA{M§
4 (Attach ad itional. sheets as necessary)
_EA, Documeuted medical expenses to d_atc:

l. T_otai hospital expenses

     
    

! $

§ 2`. ’I`otal doctor expenses $`“ " ’ " ""_
3. 'Toial chiropractic expenses $ ‘ ' " *` '

4. Total physical thera _’expe_nses $"'""_*`“““"'
§ 5. Totai other expenses describe) $ ` ` ""“"“__
1 _ ` , Subtotal $

B. Documented inst wa es and eomtpensation to date 5 " ° ' '“` “
C. Doc_umented proper damages o date $ ' '
I). Reas_onably anticipated future medical expenses $

E. Reaso'n_ab!y anticij)ated lost wages and compensation to date S

F. .()ther documen'te items oi` damages (deseribe}

n ' 3 t (_, `i{)_g{;¢‘m _f,
G. Briei` description of plaintiffs injury, including nature and extent of injury (deser.ib€)

As a direct and proximate result of the negligence of the dcfendam, who caused the death oi`plain£ii`§"s- decedent, the plaintifi` and her
children have suffered a lost of care, companionship, comfort and guidance TOta} § I,OO0,00U.GO + i

 

 

 

 

 

 

 

 

   
   
   
  
 

CQNTRACT CLAIM§
(At_tacii additional sheets as necessa`ry)
Provide a detailed description of clacm(s_):

f M“`W*W~“_…“`*““"%:

 

 

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PLEASE IDENTIFY, BY CASE NUMBER, NAME AND CO_U.NTY, ANY RELATEI} ACT.ION PENDING ]N THE SUPER!O_R `-{
C`O URT DEPARTMENT . _

 

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“I hereby certify that l have complied with the requirements oI`Rule 5_ol`tlie Supreme Judiciel Court Unil`orm Rules on Dispu'te Resoluiiou (SJC

Rulc 1:18) requiring that I provide my clients with information about court»ccnnccted dispute resolution services and discuss with them the

advantages nmi disadvantages of the v inns mcfliod§\." § w
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Signaiure of Attorncy of Reeurd /.,... ‘F <_./A

Date: Februaiy T, 2016
A'O‘S'C' 3'2""7 Alan L. Cantor Esq.

Case 1:16-cv-10400-FDS Document 1-1 Filed 02/25/16 Page 3 of 21

COMMONWEALTH OF MASSACHUSET'I`S

 

 

ESSEX, ss SUPERI_{)R COURT
CIVIL ACTION NO.:
)
SHANA GRAZIANO )
PERSONAL R_EPRESENTATIVE )
OF THE ES'I`ATE ()F SONEY )
MATTHEWS, ) PLAIN"I`IFF CLAIMS-
) TRIAI., BY JURY
Plaintiff )
_)
vs. )
)_
CITY OF PEABODY, )
)
Defendant. )
)
C_O..M..Pll_,»_é..l_l_`ll
PARTIES

. The plaintiff Sha,na Graziano is the Personal Representativc of the Estate ol` Soncy Matthcws

who died on or about February 10,2013 leaving his two children as heirs at law and next of
kin Tlac plaintiff` is the mother ofthose children Soney D Matthews, now age 16, and
Sbaynna A Matthcws now age 8. Shana Graziano resides m Lynn, Essex Count_y,
Commonwealth of Massachusctts.

The defendant City of Peabocl.y is a governmental entity located in Essex County,
Massachusetts.

Officer Christoph'er` Pierce, Gfticer Matthew Mason, Dispatchcr Neil Citroni and Dispatcher
Paul Diefcn,bach were, at all times relevant hereto, employees ofthe Ci_ty ot`Peabody Police
Dep'artment and acting in the scope of their employment

FA€TS

'On or about Febmery 2, 2013, Pea‘oody Police officers Matthew Mason and .Danie_l Murphy

were dispatched to a report of a possible violation of'a restraining ord_er. The complainant
was the plaintiff Shan-a Graziano. The plaintiff reported to Oi`iicer Mason that she had
recently obtained a restraining order against Soney Matth`ews, with whom she had two

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Case 1:16-cv-10400-FDS Document 1-1 Filed 02/25/16 Page 4 of 21

children The plaintiff told Ofticcr l\/Iason that Matthew's had said to her, “if you think you’re
leaving me, and taking our kids, l am going to kill you and myselt`.”

'l`he officers proceeded to the plaintiffs home where they arrested Soney Matthews on
various charges including threat to commit a crime (to wit murder). Matthcvvs Was.
transported to the l)eabody Pol_.ic'_e S_tation.

At the Peabody Police Station, Peabody officers allegedly conducted a suicide evaluation ot`
the decedent Despi_te his specific statement made to the plaintiff that indicated he would kill
himself and despite the fact that the statement was reported to Officer l\/Iason, Soney
Matthews Was classified as -“low risk” on the suicide evaluation t`orrn.

So.ney Matthews was allegedly searched by Oi"iiccr Mason at the time of his arrest at the
Peabody Police Station and a leather belt was taken from him.

Mr. Matthcws was placed in ajail cell equipped with a surveillance camera While in the
cell, Peabod;,r Police Ol"ficer Christopher Picrce and Dispatchers Neil Citroni and Paul
Dicfenbach had the duty to supervise and monitor him.

Shortly after being placed in the jail cell, Mr. Matthews placed one of his sandals over the
surveillance camera, which Was or should have been obvious to anyone monitoring the
camera i-Ie then took the sandal off the camera and a string had been tied around a grate in
his cell which was or should have been obvious to anyone monotoring the camera He then
proceeded to hang himself by placing the string around his neck which W.as or should have
been obvious to anyone monitoring the camera

lt was not until approximately 20 minutes after be hung himself that Mr. Matthews” body
was discovered in his jail celi.

Mr. Matthe`ws died ot`his injuries on or about Fcbru_ary lG_, 2013.

Pursuant to G.i.,. c. 258, on or about Jan_ua_ry l$, 2015, plaintiff served notices of claim on

.Mayor Edvvard A. Bettencour.t, .lr.-., City Clerl< Timothy E. Spanos and City `Solicitor. l\/Iichaei

Sinerczynski, Esq. Th'ese notices are attached as Exhib_its “-A”, “B” and “C”.
'l` he only response received on behalfof tlie-City was from the City‘s insurer, Whicli is
attached as Bxlribit “D”, in which the City neither accepted nor rejected plaintist claim.
CGUNT l
(WRONGFUL I)EA'I`H VS. CI'I`Y OF PEABOI)_Y I’URSUANT TO G.L. c. 258)

The plaintiff repeats the allegations of paragraphs i-l3 herein

 

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l$. The defendant and its agents servants and employees were engaged in the administration
supervision and management of the jail at the Peabody Poli_ce Statiou.

16. The death of plaintiffs decedent was the direct and proximate result ot"the carelessness and
negligence ol`the defendant as follows:

a. Defenda_nt negligently failed to adequately monitor and supervise the
circumstances of decedent’s confinement despite the fact that they knew or
should have known of decedent’ s suicidal tendencies

b. Defendant negligently failed to conduct an adequate search of the decedent to
attempt to locate objects which might facilitate a suicide attempt

c. Defendaut negligently failed to appropriately classify the suicide risk
attendant to the decedent despite the fact that defendant was aware that
decedent had threatened to kill himself in the hours leading up to his
confinement

d. Defendant negligently equipped.ithe decedent"s jail cell with a defective and
dangerous grate that lacked safety features to resist suicide

l? The next of kin of _Soney Matthews are entitled to the fail monetary value of the decedent
including but not limited to, compensation for the loss ot the reasonably expected net
income services, protections care, assistance society, companionship, coinfort, guidance,
counsel, and advice of the decedent and to the reasonable medical funeiai and burial
expenses incLu'r€d.

WHEREFORE, the plaintiff demands judgment against the defendant together with
interest and costs.

C()UNT ll
(CON_SCI`OUS PAIN AND SUFFEIUNG VS. CITY OF'PEAB'{)DY)

181 The.piaintiff repeats and reavers the allegations of paragraphs 1-l7 as if expressly rewritten
and set forth herein

19. This action is brought to recover for the conscious pain and suffering of Soney Matthews.

20. As the direct and proximate result of dcfendant’s negligence Soney Matthews was caused
great pain and conscious suffering up to the moment of his deat'h.

WTIBREFORE, the plaintiff demands judgment against-the defendant, together with
interest and costs

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COUNT III

(DEI’RIVATION OF CONSTITUTIONAL RIGHTS VS. CITY OF PEABODY
PU_RSUANT TO 42 ll.S.C. § 1983)_

The plaintiff restates the allegation of paragraphs 1»17 as if expressly rewritten and set tenn
herein

The City of Peabody had a duty of care to prevent personal injury or death stemming from
the gross negligence of`its employees in supervising prisoners at the jail in the Peabody
Poiice Station.

The City oi`Peahody is a government entity as well as a public employer.

At all times relevant the defendant’s employees were acting under color of state law in
connection with supervising prisoners at thejail at the Peabody Police Station and acted with
reckless indifference and callous disregard to the Safety and weifare oi` the prisoners
including but not limited to decedent

At all times relevant the defendant’s actions were manifestly outrageous and conscience
shocking as the affirmative actions of the defendant facilitated the decede'nt’s suicide

The defendants actions were conscious shocking in facilitating the suicide ot` decedent
_inc`luding, but not limited to the following ways:

a. Deliberately and indifferentiy violating city policies in supervising and
monitoring decedent at the jail.

b. Deiiberate_ly and indifferent'ly failing to conduct an adequate search cf the
decedent to attempt to_locate objects which might facilitate a suicide attempt

c. Deliberately and indifferentl'y classifying decedent as a low suicide risk
despite the fact that defendant was aware that decedent had threatened to kill
himself in the hours leading up .to' his confinement

A-s a direct.and proximate result ot`the defendant’s actions the decedent, Soney Matthews,
was deprived of his constitutional rights to life and iii;>erty,_ interests protected by the due
process clause of the Fomteenth Amendment of the Unite'd States Constitution,

The heirs at law and next of kin of the decedent are entitled to the fair monetary value ot` the
deeedent-, including but'not limited to compensation i`or the loss of the reasonably expected
net income, services, protections care, assistance s`ociety, companionship, comfort,

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guidance, connsel, and advice of the decedent and to the reasonable medical, funeral and
burial expenses incurred pursuant to 42. U.S.C. § 1983.

W.HEREFORE, the plaintiff demands judgment against the defendant together with punitive
damages, attorneys fees_, with interest and costs.

PLAINTIFF CLAIMS TRIAL BY JURY

Thc Plaintiff,
By Her Attorneys,

Cl:\i¢?w€\ C:¢a.a;:“:fil"}
James A. Swartz
BBO #556920
Aian L. Cantor
BBO #G-?ZBGO
Swartz-& Swartz, P.C.
10 Mar'shall Sti'eet
Boston, MA U?.iO-B
(617) 742-l900

 

DATED: February l, 2016

Case 1:16-cv-10400-FDS Document 1-1 Filed 02/25/16 Page 8 of 21

EXHIBIT A

Case 1:16-cv-10400-FDS Document 1-1 Filed 02/25/16 Page 9 of 21

    
    
 
 

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eeamlor@$wtii.'tzlat\-\f.com

lanuazj; 15, 2015

Ma_\_-'o-r Edvv'ai‘d A. Bette;'ioourt, .lr.
24 Loweli Stt'eet
Peabody, i\/iA OI%O

Mziyor lidwm'd A. Bettencoui_t:_ 511
Grte America Drive
Peabocl_t_-", MA Ol 960

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Peabod_v, l\'iA Ul%()

t\;'iicheel Smeto;<'.ynsl\'.i, l;`,s,q.
Cit}-' Solicit_oi'

'l`own' of Peal)ody

34 Main Street

Peaood}', MA 01960

RE: i§S'I`ATE (`)F SONEY N i\’f.l\.'i`”l`HE'\J\i-’S
Sirs:

Tliis ot`t`iee represents the Estate ol`Sone}-‘ N. Matthews, in connection with an
incident that occurred on or about Febi'uary 3__ 2013 at the Peabod_v Poliee St'..itioii. .At that
time, i\/lt. Mattthews was found in .liisjail ce_li. having used tt ottng to hang himself .`l~l.e.
died 'oi` his injuries on ot about Febi'uary lO, 2013.

thsecl on present in\-‘e$tigation, it appears that the Pezab-ocly Police De;)artment west
negligent in eonneo-t.ion with this incident and that this negligence reatiiteti in Mr..
i\fiattliews’ death Speeifiezilly, the police Wet'e aware that Mr. i&-letthe\\-'s had threatened to
kill himseli"', its reported to thereby Slia_viia Grazi:mo on or about E`ebrt:ary 2, 20§ 3.
Despite this kito\.v§.edg_e; the Peebo<ly Poliee failed to adequately supervise and monitor t\/lr.
Mat_thews in 'liis_io.il cell I:"le was iii possession ole string '\\-'hioh lie used to hang ii_imsel't`.
He was apparently viewed on camera Si_tting on a toilet with the string tied to a grade

 

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l’age 2
Ali Sirs`
laniiai'y lS, 2015

directlyr over the ioiiet which police failed to observe iii-camera in the cell was apparently
coveredby one ot`i\/lr. Matttiews’ sandals, as observed in police photos in siiort, the
monitoring and supervision conducted bly the Peabody Police.were conducted neg.li§_tzentlyj
especiaily in light ol`Mr. l\`/iatthews’ stated threat to leiii liiniseit.

On b.elisii`ot" i\'li', Ma`ttitews’ Estste, We contend tltat.ot`ticiais, servants and
employees at the Peitbody P-olice Depai‘.trnent \\’ei‘e negligent in failing to exercise
reasonabie care in that i\-ir. Matthews’ cell was equipped with a dangerous grate We
further contend`that ot`ticials, servants and employees at the Pe'abod'y Police Depaitinent
failed to e->iercise'i'eason;tble care in.con.nection with their supervision and circumstances of
confinement oi` i\/irt .i\’lntthe\\='s despite the fact thet`tiiey knew or shonid have known oi`t\/ir.
ivlatt`liews` stticidai tendencies

Ptirsuant to die `i`\/ittsseeh_usetts ”Iort Claims /`\ct1 G~..L. c. 258, \‘~_\.-'e demand recovery
from the eit"§.,'T of Peabody on belialt`of.i\'li‘. l\rlattl'ie\t-'s" Estate i`or the '\i'iongftil death and
pain and suffering ot`t\/ir. Mattiiews oi`t'ne maximum damages aliowed by law

l’iensc be advised that otis client in this matter is Sliayna Grazciano, the mother ot`
ivlr. t\'iattlie\i"s` two chii_dren, Soney D. Matthews {D.O.B. if l 5»’2090) and Slia}»'nna
Matthews (`D.O.B. 4,-"18-/"200?), as decendcnts’ two children are his heirs et law and next of
kin We accordingly demand as follows:

Sone}-' D_ i\»”lattl‘iews: SIO{J,UBG.OO plus costs
Slisynna ivin'ttiiew_s: 5 l O0,00G.OO plus costs

'\-"ery truly yours,

i»\L.C:l<_np Aian L. Cantor
C.`EP\T`l i~"itii) ;\rlAl L:'RR.R

 

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EXHIBIT B

Case 1:16-cv-10400-FDS Document 1-1 Filed 02/25/16 Page 13 of 21

 

 

 

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WEBSITE ~ \"~WM'.S\¥".~.\RTZ},A W.CUM
acantot_‘@st_\'attzlaw.com

lanuai"j l 5_,- 2015

nlay'ot' l`:`,dward A. Beitcncou-ri, _Ir.
24 Lowell S.tt"eet
Pealzo`dy, MA 01960

t\/la}»‘ot' l§dv~'atd A. Bettencotttt; li'.
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24 l_owell Strect
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i\-'iicltael Smerczynsk.i_. l§sq.
Citj; Solicitor

Town Ol'" Peahody

34 l\/lain Strect

Pcabocly, MA 03 960

Rl§l; ESTATE Ol" SONF,Y N. MATTl'l.EWS_
SirS:

'.lhis office represents tlte'l:istatc of finney l\l.. ivfatth.ews, in connection with an
incident that occurred on or about liebrnar_y 3, 20l3 at the Peabody Police_- Station. At that
time, i‘~li'. Mattlicws Was'i`o'ttnd in itisjail- ce.ll, having used a string to hang himself l-le

died oi`ltis injuries on or about Febrttary 10, 20 t 3.

Based on present investigation it appears that the Peabody Police l.`)epattmcnt was
negligent in connection with this incident and that this negligence resulted in Mr_.
ixtatthews’ de'atlt. Sp'cciticall§:, tile police W-ere aware that l\'l-r. Matthews had threatened to
l<ill himsell`, as reported to them by Sha_;t'na Graz.iano on or about Fehrtiary 2, 2013,
l)cspite this kno\\';ledgc, the ll'c'a:‘ooc_l§,v l)olicc failed to adequately supervise and monitor t\'tr.
lvlattltews in his jail ccii_, lie was in possession ol`a string which itc need to hang himseli`.
l-l`e was apparently viewed on camera sitting on a toilet with the stringJ tied to a grate

 

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page 2
Ail Sit's
lanuat“j 15, 2015

directly ot et the toilet Wh'iclt police failed to observe ve . 231 camera in the cell was apparently
cox- creel by one ot` l\lt Matthe“s’ santlais_ as ohsened 111 police photos in short the
monitoring and supervision conducted 'o;» the Peabody Po lice 11 ere co- :'1ducted negligentl§f
especially in li<_tlit of `»lr. i\latihew"'s stated threat to kill himself

011 behall`o`t`l\/lr. h/latthews’ Estate, we contend that ol`ticials, sem'ants and
emplovees at the Peahody Pol ice Departrnent t\,'e1e negligent in failing to exercise
reasonable care in that l\./lr. Matthe\as cell was equipped with a d angemus grate We
hether contend that officials sen ante and employees at the Peabodv Police Depatt:nent
failed to exercise reasonable care in connection with their supert ision and clicutnstances of
confinement of l\/lt. Matthev»s despite the fact that they knew or should hat c knoth ol` M 1’
;\l.attltews` suicidal tendencies

Putsuant to the 'N'lassachusetts Tort C.laims Act. G l. c 258, \‘.'e edeniand iecover\
nom the cite of Peabody on behalf lot Mt l\,-latthe\,is" listate lot the \wonttf`ui death and
pain and suffering ol` \2§1 Mattlte‘.\ s ofthe maximum damages allotted by lai\,-.

Please be advised that ou1 client in this mattei is Shayna Graz'iano, the mother ot`
l\/`lr. Matthews’ two childten, Sone_\, D. l\/l._atthe\ts ('D‘O.B. 1215/2000) and Shaynna
Matthews (D.O.B. 4,"131'200'1'*'), as decendents"' two children are his heirs at tow and next ot`
l;ia. We accordingly demand as follow-sr

Soney D. M-atthews: 31100,000_00 plus costs
Sha`yana Matthews: §§ l_00.000.00 plus costs

\"ery truly yours:

l/:€{:l:éoo `g - Ce"tftl\

.2\i.Cf:l<11p Alan l.,. Ca'ntor
CERi`l l~`llY-LD MAHJHRR

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EXHIBIT C

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Mtl_\'c)r }Edwzu'tl A. Bettencou:t, Jr.
24 Lowell S‘tr€et
F’cabody, MA Ol 960

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RE`: ESTA'I`E OF SONEY N. MA'?."§`I'{E\»`\?S
Sirs:

'i'hiS-oi`fice r€presem$ 'th€'EStatC-ot` Soucy .N. i\-"[atthews, in connection With an
incident that occurred on or about Febrttt-u.'y 34 2013 at the Peal`)ody Police Stntic)n. At that
tim€, Mr. Mattliews ms found in hisjttil cell, having used a string to hang himself lie
tliec§ of his injuries on ct about F€b_ruar_y §O, 2013.

Bas;ed on present investigation, it appears that the Peabody Police Dcpm'tment ‘.',-=as
negligent in connection with this incident and that this negligence resulted in Mr.
?»»futthews’ death Speciticaily, the police were aware that M_r. i\»iatthaws had threatened to
kill himsel‘t`, 35 reported to them by Shtlyna Gz‘£lzizm<) cm or about Februaty 2, 21'}13.
De;;pi`te this l.~<.nm\.'icci'§_'_te, the Peabody Poiice failed to adequately Supt:t\'is€ and monitor i\/li'.
l‘»"[:-ztthews in his jail cell l `It: was in possession Oi"a Stri_ng which he used to hang himself
lie Was apparently viewed on camera Sitting on a toilet with the string tied to a grate

 

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ATYGRNEYS AT LAW

   

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All Sirs
landth l5_, 2015

directly over the toilet which police thiied to observe A camera in the cell was npp`orentiy
covered loy one of` Mr. h;lntthews` sanddls, as observed in police photos in shon, the
monitoring end supervisionconducted by the Peahody Poliee were conducted negligently
especi.elly`in light of t\flr. ,l.\/ilatthews’ stated threat to kill hi'inseit`.

Ori.h_e.hali"oi’hii'. Mntthev.'s’ Estate, we contend that offici-als, servants and
employees at the Peahody Police Dcpartment \,-'\»'ere negligent in failing to exercise
reasonable care in that Mr. Matthews` cell was equipped with n dangerous grate We
further contend that oi`iiciels_, servants end employees at tire Peal)ody l-’olice Departr'nent
failed to exercise reasonable core in connection with their supervision and circumstances ot`
confinement ol`i\/lr. Metthev.='s despite the l"nct that they knew or should have known of Mr.
i\»'tarthews" suicidal tendencies

Pursoont to the Massochosetts Tort Clniins Act, G.L.. c. 258, we demand recovery
from the city of Penhody on behalf ofMi‘. h“lnttltex\’s’ .Estnte for the wrongful death and
pain end suffering of Mr. Matth'e\.vs of the maximum damages allowed by iaw.

Please he advised that our client in this matter is Shn_yna Grezisno, the mother ol`
i\:ir. Metthews’ two children3 _Soney D. l\,'.latthews_ {D.O.B. 1!15;_'200(}) and Shaynna
i\-'Istthews (D"O.B. 4,/1.3/2(}07), as decenclcnt$’ two children tire his heirs et law and next of
kin. We- accordingly demand as l`ol'lows;

Sone}_‘ D, Motthcws_: Sl UG,OOOtOO plns"costs
Silaynno Matthe\vs: $l 00,-000_0{}. pins costs

Very truly },'oL:rs_,

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M"”“ ` TRioENT

)=

January 22, 2015

Mr. -Alan Cantor

Swartz & Sv_vartz, Attorneys at Law
10 Marshall Street

Boston, MA 02108

RE: Estate-of Sonev Matthews v. Cir-v of Peabodv, MA

Trident Claim Number: TN'I`-t]l?.éé{]]

Dear Mr. Cantor:'

Trid_ent lnsurance Services is the authorized claim representative of A_rgonaut Insurance
Comp`any (“Arg,ona'ut” , the insurer ofthc City of Peabody, MA.

You_r Notice of Claiin letter pursuant to the Massach'usetts Tort Claims Act, G.L. o. 258 dated
January 15, 2015 to the City of Peabody relating to claims on behatf of the Estate of Soney
Matthews has been forwarded to Triclent for further investigation and handling While l begin
my investigation into this matter, l welcome you to provide any additional information you have

to snpport your client’S claims directly to my attention either at the below address or via e-inail
at rstieanGtride_ntiiistir_ance.net.

fn addition, should you wish, l can be reached at (360) 507-6333 to discuss this matter further.
Sincerely,

. f
/Z/f’z? /}//i .

Robert-_A. St, lean
Exar'niner ~ Pri_ncipal Claims

cc: City of Peabody

 

